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 1                                                           THE HONORABLE BENJAMIN H. SETTLE

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 6
                                       UNITED STATES DISTRICT COURT
 7                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
 8

 9       COMMANDER EMILY SHILLING, et al.,                        No. 2:25-cv-241-BHS

10                      Plaintiffs,                               NOTICE PURSUANT TO THE
                                                                  COURT’S ORDER
11             v.

12       DONALD J. TRUMP, in his official capacity as
         President of the United States, et al.,
13
                        Defendants.
14

15             The Court’s March 5, 2025 Minute Order requires Defendants to notify Plaintiffs and the

16   Court if the Department of Defense or its subsidiaries “issues any policy or guidance

17   implementing the challenged Executive Orders in the military.”

18             At this time, Defendants are aware of the following such documents (new item(s) in bold):

19       28 Jan 2025         Dep’t of the Navy, Navy Recruiting Command, Decision Guidance
                             Memorandum #N00-30: Processing of Applicants Identifying as
20
                             Transgender.1
21       31 Jan 2025         Secretary of Defense, Defending Women from Gender Ideology Extremism
                             and Restoring Biological Truth to the Federal Government.2
22       04 Feb 2025         Dep’t of the Air Force, Office of the Assistant Secretary, Implementation of
                             Executive Order 14168, Defending Women from Gender Ideology Extremism
23                           and Restoring Biological Truth to the Federal Government.3
24   1
         ECF No. 58-1
25   2
         ECF No. 58-2
     3
26     See https://www.af.mil/News/Article-Display/Article/4054626/daf-releases-memorandum-on-implementation-of-
     executive-order-14168-defending-wo/
         NOTICE PURSUANT TO THE                                                                  U.S. DEPARTMENT OF
         COURT’S ORDER                                                                                  JUSTICE
         CASE NO. 2:25-CV-241-BHS                                                                   1100 L Street NW
                                                                                                  Washington, DC 20530
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 1   04 Feb 2025         Dep’t of the Army, Office of the Assistant Secretary for Manpower and
                         Reserve Affairs: Implementing Guidance for Executive Order Defending
 2
                         Women.4
 3   07 Feb 2025         Secretary of Defense, Prioritizing Military Excellence and Readiness.5
     07 Feb 2025         Dep’t of the Army, Implementation of Executive Orders Related to
 4                       Transgender Military Service (“EXORD 150-25”).6
     14 Feb 2025         Dep’t of the Army, Fragmentary Order (“FRAGO”) 1, amending EXORD
 5                       150-25 (above).7
 6   26 Feb 2025         Office of the Under Secretary of Defense, Additional Guidance on
                         Prioritizing Military Excellence and Readiness.8
 7   28 Feb 2025         Office of the Under Secretary of Defense, Clarifying Guidance on
                         Prioritizing Military Excellence and Readiness.9
 8   01 Mar 2025         Dep’t of the Air Force, Acting Assistant Sec’y for Manpower & Readiness,
                         Additional Guidance for Executive Order 14183, ‘Prioritizing Military
 9
                         Excellence and Readiness.’10
10   04 Mar 2025         Office of the Undersecretary of Defense, Clarifying Guidance on Prioritizing
                         Military Excellence and Readiness: Retention and Accession Waivers.11
11   06 Mar 2025         Sec’y of the Army, Prioritizing Military Excellence and Readiness
                         Implementation Guidance.12
12   07 Mar 2025         Dep’t of the Army, Implementing Guidance for Executive Order (EXORD
13                       175-25) (superseding EXORD 150-25, above).13
     13 Mar 2025         Sec’y of the Navy, Initial Direction on Prioritizing Military Excellence and
14                       Readiness. 14
     14 Mar 2025         Commandant of the Marine Corps, Initial Guidance on Prioritizing
15                       Military Excellence and Readiness. (MARADMINS 128/25).15
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          4
            ECF No. 58-3
20        5
            ECF No. 58-4
          6
21          ECF No. 58-5
          7
            ECF No. 58-6
22        8
            ECF No. 58-7
          9
            ECF No. 58-8
23        10
             ECF No. 58-9
          11
24           ECF No. 64-1.
          12
             ECF No. 68-1.
25        13
             ECF No. 68-2.
          14
             ECF No. 75-1
26        15
             Attached as Exhibit 1.
     NOTICE PURSUANT TO THE                                                            U.S. DEPARTMENT OF
     COURT’S ORDER                                                                            JUSTICE
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 1   DATE: March 14, 2025       Respectfully submitted,
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                                Acting Assistant Attorney General
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     NOTICE PURSUANT TO THE                                                    U.S. DEPARTMENT OF
     COURT’S ORDER                                                                    JUSTICE
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